
USCA1 Opinion

	







                            United States Court of Appeals
                                For the First Circuit
                                 ____________________

        No. 94-2026

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                   GERALD R. CARON,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                Torruella, Chief Judge, Coffin, Senior Circuit Judge,
                           ___________          ____________________
                Selya, Cyr, Boudin, Stahl, and Lynch, Circuit Judges.
                                                      ______________

                                 ____________________

            Owen S. Walker, Federal Public Defender, for appellant.
            ______________
            Timothy  Q  Feeley,  Assistant  U.S.  Attorney,  Brian  T.  Kelly,
            __________________                               ________________
        Assistant U.S. Attorney, Donald K.  Stern, United States Attorney, for
                                 ________________
        appellee.


                                 ____________________

                                  February 26, 1996
                                 ____________________

                                   OPINION EN BANC
                                 ____________________
























               COFFIN, Senior Circuit Judge.  Appellant Gerald R. Caron was
                       ____________________

          convicted  of  possessing  rifles,  shotguns  and  ammunition  in

          violation  of  18 U.S.C.    922(g)(1),  the "felon-in-possession"

          law.  Because  at least  three of Caron's  five predicate  felony

          convictions  were  for  crimes  of violence,  he  was  subject to

          sentence  enhancement  under   the  Armed  Career   Criminal  Act

          ("ACCA"), 18 U.S.C.   924  (e)(1).  Caron received a  prison term

          of  21 years,  10 months,  plus a  five year  term of  supervised

          release.  See U.S.S.G.   4B1.4. 
                    ___

               The issue in this case is whether three prior  Massachusetts

          convictions should  not be counted  as predicate crimes  under 18

          U.S.C.   921(a)(20), which excludes as predicates

               [a]ny conviction which has  been expunged, or set aside
               or  for which  a person  has been  pardoned or  has had
               civil  rights  restored  .  .  .  unless  such  pardon,
               expungement, or restoration  of civil rights  expressly
               provides  that  the  person may  not  ship,  transport,
               possess, or receive firearms.

          The  questions we  must  address relate  to  the words  preceding

          "unless," and, in particular, the procedure by which one "has had

          civil  rights restored."    Under Massachusetts  laws of  general

          application,  two of  Caron's  basic civil  rights were  restored

          automatically after a lapse  of time or at the  expiration of his

          sentence; the remaining one was never taken away from him.  

               In  an earlier stage of this  case,  United States v. Caron,
                                                    _____________    _____

          64 F.3d 713, 718 (1st Cir. 1995), a panel of  this court, deeming

          itself bound to follow United States v. Ramos, 961 F.2d 1003 (1st
                                 _____________    _____

          Cir. 1992), held that the requirements of   921(a)(20) can be met

          only  by "focused,  individualized, affirmative  action," not  by

                                         -2-














          laws  of  general  or  automatic application.    We  subsequently

          decided to  reconsider this  holding en  banc, allowed  the panel
                                               __  ____

          opinion to remain in effect  as to the other issues decided,  and

          asked  for briefing  on one  additional issue:   whether,  as the

          Ramos  panel  reasoned  (regarding  misdemeanors),     921(a)(20)
          _____

          cannot  be satisfied  where  civil  rights  are  not  lost  as  a

          collateral  consequence  of  conviction,   since  there  is   "no

          individualized official judgment" evidencing the state's "renewed

          trust" in the individual.  Ramos, 961 F.2d at 1009.
                                     _____

               The government,  after having filed a  brief urging adoption

          of  the panel's  position,  notified us  that  it was  no  longer

          defining  the restoration  of civil  rights to  exclude automatic

          affirmative actions  based on generic statutes.   It nevertheless

          did not retreat from its insistence that  some affirmative action

          was required to "restore"  such rights.  And it  did not withdraw

          its fallback contentions that Massachusetts statutes do not fully

          restore the civil rights  of convicted felons and, in  any event,

          expressly  restrict   their   rights  to   possess   firearms.   

          Notwithstanding the  government's change of  position, which  was

          unexplained, we must arrive at our own independent judgment. 

               After due deliberation, we now hold, in accordance  with our

          seven sister circuits,1  that civil rights may be restored within
                              
          ____________________

               1   McGrath v. United States,  60 F.3d 1005  (2d Cir. 1995);
                   _______    _____________
          United  States v.  Hall, 20  F.3d 1066  (10th Cir.  1994); United
          ______________     ____                                    ______
          States v. Glaser, 14 F.3d 1213  (7th Cir. 1994); United States v.
          ______    ______                                 _____________
          Thomas, 991 F.2d 206 (5th Cir. 1993); United States v. Dahms, 938
          ______                                _____________    _____
          F.2d 131 (9th  Cir. 1991); United  States v. Essick, 935  F.2d 28
                                     ______________    ______
          (4th  Cir. 1991); and United States v. Cassidy, 899 F.2d 543 (6th
                                _____________    _______
          Cir. 1990). 

                                         -3-














          the meaning of    921(a)(20) by laws of  general application.  We

          also hold that, at  least where some civil rights are restored by

          the  operation of such  laws, the fact  that one  civil right was

          never  lost does not prevent an individual from having "had civil

          rights restored" within the meaning of the provision.  

                                      BACKGROUND

          A.  Facts
              _____

               We briefly set forth  the relevant facts.  On  two occasions

          in 1993, rifles, shotguns and  ammunition were seized from Caron.

          At the time  of his  arrest, his criminal  record included  three

          Massachusetts  felony  convictions  (1958,  1959,  and  1963),  a

          California  felony  conviction  (1970),  and  a  federal firearms

          felony conviction (1977).  All four state convictions constituted

          violent  crimes which could  serve as predicates  under the ACCA.

          See 18 U.S.C.   924(e)(2)(B).
          ___

          B.  Massachusetts Statutory Scheme
              ______________________________

               "Civil  rights," within  the meaning  of    921(a)(20), have

          been generally agreed to comprise the right to vote, the right to

          seek and  hold public office, and  the right to serve  on a jury.

          United States  v. Cassidy, 899 F.2d 543, 549 (6th Cir. 1990).  As
          _____________     _______

          an   initial   matter,   therefore,  we   recount   the  relevant

          Massachusetts laws corresponding to these rights.  

               A convicted felon in Massachusetts  does not lose the  right

          to  vote.   See Mass.  Gen. L.  ch. 54,     86,  103B.   He does,
                      ___

          however, lose the right  to hold public office while  serving his

          sentence.  Mass.  Gen.  L.  ch.  279,    30.    And,  a  felon is


                                         -4-














          disqualified  from  juror  service  until seven  years  from  his

          conviction.   Mass. Gen. L. ch.  234A,   4.   However, even after

          seven years, a  judge can remove one from a  jury panel solely on

          the basis of a prior felony conviction.  Mass. Gen. L. ch. 234,  

          8.

               Clearly,  the  Massachusetts  scheme  neither  provides  for

          "individualized,   affirmative   actions"   nor    for   complete

          "restoration," as the  right to  vote is never  removed.   Ramos,
                                                                     _____

          therefore,   on  both   fronts,   would   mandate  that   Caron's

          Massachusetts convictions  count for purposes of the  ACCA.  Now,

          sitting en banc, we revisit the question whether we should depart
                  __ ____

          from the positions we took in Ramos.
                                        _____

                                     DISCUSSION  

          A.   Restoration of Civil Rights:  Individualized Acts Only?
               _______________________________________________________

               We approach  the task  of statutory interpretation  with the

          following guideline foremost in mind:

               So  long  as  the  statutory   language  is  reasonably
               definite, that  language must ordinarily be regarded as
               conclusive (at least in  the absence of an unmistakable
               legislative intent to the contrary).

          United States v. Charles  George Trucking Co., 823 F.2d  685, 688
          _____________    ____________________________

          (1st Cir. 1987) (citations omitted).

               The key words of 18 U.S.C.   921(a)(20) are "expunged," "set

          aside,"  "pardoned," and  "civil rights  restored."   All of  the

          words signify a result:  strike out, efface, eliminate (expunge);

          dismiss, discard,  annul (set  aside); excuse an  offense without

          punishment, release  an offender from punishment  (pardon); bring



                                         -5-














          back to an  original state or condition (restore).2   They do not

          address  the means by which  the results may  be accomplished or,

          consequently, indicate preference for any particular means. 

               In Ramos,  our panel assumed that  pardons, expungements and
                  _____

          restorations  of  rights  all  involved  individualized  official

          judgments and procedures. 961 F.2d at 1010.  But the wide variety

          of practices  adopted by states has  since been pointed  out.  In

          United States v. Glaser, 14 F.3d  1213, 1218 (7th Cir. 1994), the
          _____________    ______

          court  noted   that  "[n]either  pardons  nor   expungements  are

          necessarily   individualized,"  citing   mass  pardons   by  both

          Presidents  Jefferson  and Carter,  and  federal  and state  laws

          providing for  "routine expungement" of  convictions for juvenile

          offenses.

               In McGrath v.  United States,  60 F.3d 1005,  1008 (2d  Cir.
                  _______     _____________

          1995),  the  court recognized  that  "many  states restore  civil

          rights to convicted felons by means of a general law stating that

          all rights shall be  reinstated upon the service of  a sentence."

          It  also noted  that other  states authorize  officials to  issue

          certificates  of  restoration  after   a  given  period  of  time

          following sentence or parole, while a minority of states "restore

          rights in  piecemeal fashion," and twelve  states apparently have

          no provision regarding restoration of civil rights.     

               Perhaps even more significantly,  in Dickerson v. New Banner
                                                    _________    __________

          Inst., Inc.,  460 U.S. 103  (1983), the Supreme  Court recognized
          ___________
                              
          ____________________

               2   These synonyms are  substantially common  to The  Random
                                                                ___________
          House Dictionary (2d ed. 1987), Webster's Third New International
          ________________                _________________________________
          Dictionary (1976), and The American Heritage Dictionary (1973). 
          __________             ________________________________

                                         -6-














          the   diversity  of   state  post-conviction   actions  such   as

          expungement.  It noted that over half the states had enacted such

          statutes  and  that they  varied  "in  almost every  particular,"

          ranging  from applicability  only to  young offenders  or certain

          offenses to  automatic expunction, and amounted  to "nothing less

          than  a national patchwork."  Id.  at 121-22.  The Court reasoned
                                        __

          that  the  purpose  of the  federal  firearms  statute "would  be

          frustrated  by a ruling  that gave effect  to state expunctions,"

          id. at 119, and reversed a lower court ruling that had given full
          __

          effect  to a  state expungement  following a  successfully served

          period of probation.3

               Congressional reaction to Dickerson in large part  accounted
                                         _________

          for  the crafting of    921(a)(20), which expressly allowed state

          law  to define a predicate conviction for purposes of the federal

          firearms laws.4  See  McGrath, 60 F.3d at 1009.   In interpreting
                           ___  _______

             921(a)(20),  therefore,  we take  into  account  not only  the

          diversity  of state approaches to the restoration of civil rights

          of convicted  felons but also  the clearly manifested  purpose of

          Congress  to defer to state laws, in this context, in determining
                              
          ____________________

               3  The  firearm disabilities  were imposed by  18 U.S.C.    
          922(g)  and  (h), enacted  under Title  IV  of the  Omnibus Crime
          Control and  Safe Streets  Act of  1968, Pub.  L. No.  90-351, 82
          Stat. 226 (1968) (as amended by the Gun Control Act of 1968, Pub.
          L. No.  90-618, 82 Stat.  1214 (1968)).   In  1986, the  Firearms
          Owners' Protection Act, Pub. L. No. 99-308, 100 Stat. 449 (1986),
          amended this law  by, inter  alia, changing    921(a)(20) to  its
                                _____  ____
          current form.

               4    The  sentence  preceding  the sentence  at  issue  here
          provides that "[w]hat  constitutes a  conviction . .  . shall  be
          determined  in accordance  with the  law  of the  jurisdiction in
          which the proceedings were held."  18 U.S.C.   921(a)(20).

                                         -7-














          predicate    convictions   and    the    removal    of    firearm

          disqualifications.   As the Court  stated in Dickerson,  "[a]s in
                                                       _________

          all cases of statutory construction, our task is to interpret the

          words of [the statute]  in light of the purposes  Congress sought

          to  serve." 460 U.S. at  118 (quoting Chapman  v. Houston Welfare
                                                _______     _______________

          Rights Org., 441 U.S. 600, 608 (1979)).
          ___________

               In light of this background, we discern no basis for reading

          into the words  at issue any gloss based on  assumed frequency of

          use  or primacy  of  meaning.    And, we  hesitate  to  impose  a

          qualification  upon  these words  absent some  textual indication

          that  such limitation  is warranted.5   Accordingly,  we conclude

          that  the plain  language of    921(a)(20)  makes clear  that the

          restoration   of   civil   rights   need  not   be   focused   or

          individualized.


                              
          ____________________

               5  We do not overlook a plausible reading of the last clause
          of   921(a)(20)  ("unless such  pardon . .  . expressly  provides
          that the person may not . . . possess . . . firearms"), which the
          panel  in   Ramos   found  supported   its  interpretation   that
                      _____
          individualized action was required.   961 F.2d at  1008.  But  we
          think  an interpretation  consistent  with a  broader reading  is
          provided by Glaser, 14 F.3d at 1218: 
                      ______

               A person who contends that state statutes have restored
               all of his  civil rights . . . [requires us] to examine
               the whole  of state statutory law  to determine whether
               the state treats  him as "convicted" for the purpose of
               possessing firearms.  When the state gives the person a
               formal  notice  of  the restoration  of  civil  rights,
               however, the final  sentence of    921(a)(20) instructs
               us to look, not  at the content of the  state's statute
               books but at the contents of the document.

          This interpretation jibes with the Court's instruction in Beecham
                                                                    _______
          v. United  States, 114 S. Ct. 1669, 1671 (1994), to focus on "the
             ______________
          plain meaning of the whole statute -- not of isolated sentences."

                                         -8-














               From our  present perspective, therefore, we see  no need to

          look into legislative history.6   See Summit Inv. and  Dev. Corp.
                                            ___ ___________________________

          v. Leroux, 69  F.3d 608,  610 (1st Cir.  1995) ("Plain  statutory
             ______

          language  does not prompt  recourse to countervailing legislative

          history.").    Nonetheless, given  that  we  initially reached  a

          contrary conclusion, and to  ensure that there is not  "a clearly

          expressed  legislative intent  to the  contrary,"  Dickerson, 460
                                                             _________

          U.S. at 110  (internal quotation marks and citation  omitted), we

          take  a brief foray into the legislative history of   921(a)(20).



               Our review leads  us to the conclusion  that the legislative

          history  of   the  provision  "'is  more   conflicting  than  the

          [statutory] text is  ambiguous.'"  United  States v. Aversa,  984
                                             ______________    ______

          F.2d  493, 499 n.8  (1st Cir. 1993) (en  banc) (quoting Wong Yang
                                               __  ____           _________

          Sung v.  McGrath, 339  U.S. 33,  49 (1950)).   We begin  with the
          ____     _______

          statutory predecessors of    922(g)(1), 18  U.S.C. App.     1201-

          1203, which proscribed, inter alia, the possession of firearms by
                                  _____ ____

                              
          ____________________

               6   We  note that  the other  circuits have,  almost without
          exception,  focused their  analysis  on  the statutory  language,
          rather than  the legislative history.  See  Hall, 20 F.3d at 1069
                                                 ___  ____
          ("'[R]estored' .  . . does  not suggest that  the action must  be
          individualized.");  Glaser,  14  F.3d  at  1218  ("Nothing  in   
                              ______
          921(a)(20) distinguishes according to  the frequency with which a
          state dispenses some boon."); Thomas, 991 F.2d at 213("[R]ights .
                                        ______
          . .  reinstated automatically by  operation of law  . . .  are no
          less 'restored' than are such  rights that have been  resurrected
          by  an 'affirmative act' of the state."); United States v. Gomez,
                                                    _____________    _____
          911  F.2d  219, 221  (9th Cir.  1990)  ("If Congress  intended to
          require  an  individual affirmative  act  of  restoration by  the
          state,  Congress could have so provided.").  But see Cassidy, 899
                                                       ___ ___ _______
          F.2d at  546  (relying  on legislative  history after  concluding
          that it was  not clear whether   921(a)(20)  contemplated looking
          only at a discrete document or the whole law of a state).

                                         -9-














          a  convicted felon, id.    1202(a)(1), but exempted  a person who
                              ___

          had "expressly  been authorized  by the  President or  such chief

          executive [of a state] to . . . possess . . . a firearm."  Id.   
                                                                     ___

          1203(2).  There  was no comparable pardon provision applicable to

          the shipping or receipt of firearms under former    922(g)(1) and

          (h)(1).   

               In  1981,  S.  1030   was  introduced,  which,  as  revised,

          contained  essentially the  language of  the  last sentence  of  

          921(a)(20).  See  Cassidy, 899 F.2d  at 547.  A  Senate Judiciary
                       ___  _______

          Committee Report  explained that the bill would  repair the above

          described inconsistency between    922  and 1202 by expanding the

          pardon provision to  encompass   922.  See S.  Rep. No. 476, 97th
                                                 ___

          Cong., 2d Sess. 18  (1982).  In addition, the  explicit reference

          to chief executives was dropped and the exemption was expanded to

          include expungements and restorations of civil rights.  See id.  
                                                                  ___ ___

               While  such expansion  might indicate  a movement  away from

          individualized action, other excerpts provide  a contrary thrust.

          For  instance, to demonstrate the  need for the  bill, the report

          expressly cited to Thrall v. Wolfe, 503 F.2d 313 (7th Cir. 1974),
                             ______    _____

          where the court held that a state pardon still did not permit one

          to receive or purchase a  firearm.  See S.  Rep. No. 476, at  18.
                                              ___

          Although the report  made no  mention of  the kind  of pardon  in

          Thrall, it was  an individualized one.  The  report also used the
          ______

          following language to describe  the last clause of    921(a)(20):

          "In the event that the official  granting the pardon, restoration
                             ____________

          of  rights or expungement of record does not desire it to restore


                                         -10-














          the  right  to  firearm  ownership, this  provision  is  rendered

          inapplicable where  the order  or pardon expressly  provides that

          the person may not possess firearms."  Id. (emphasis added).  And
                                                 ___

          it referred to  this last clause as providing "flexibility should

          such  a pardon or  restoration be  based upon  considerations not

          relating  to fitness  to  own a  firearm."   Id.  at  12.   Taken
                                                       ___

          together,  these  extracts  might  indicate  that  individualized

          actions were intended.  

               Nonetheless, we note that  S. 49, the successor to  S. 1030,

          was explained by Senator Hatch as addressing the problem  created

          by imposing federal sanctions on persons who "have had their full

          civil rights restored pursuant to State law."   He added: 

               This  [bill] will  accommodate  State  reforms  enacted
               since 1968  which permit  dismissal of charges  after a
               plea  and  successful  completion  of   a  probationary
               period.  Since the  Federal prohibition is triggered by
               the  States' conviction,  the  States' law  as to  what
               disqualifies an  individual  from firearms  use  should
               govern.

          131  Cong. Rec.  S8,689  (daily ed.  June  24, 1985).   Both  the

          reference to reforms  and the  linking of state  power to  define

          both   the   triggering   conviction   and   the   conditions  of

          disqualification   tilt   toward   the   inclusion   of   generic

          restorations of rights.

               It could be  and has  been argued that  Congress, which  has

          held itself out as endeavoring  to tighten laws against  firearms

          abusers,  would not lightly turn over final decision power to the

          states,  allowing them  in effect  to nullify  federal sanctions.

          But, as the Second Circuit observed, 


                                         -11-














                    The very decision to have restoration triggered by
               events governed by state law insured anomalous results.
               . .  . They  are the  inevitable consequence  of making
               access to  the exemption  depend on the  differing laws
               and policies of the several states.

          McGrath, 60 F.3d at 1009.
          _______

               In summary, we discern no such clear and compelling evidence

          of Congressional intent to  limit restoration of civil rights  to

          individualized  procedures  and  judgments   as  to  change   our

          interpretation  of  what  we  deem to  be  unambiguous  language.

          Ramos' holding  regarding the  need for individualized  action is
          _____

          overruled.

          B.   Restoration of Rights Not Taken Away
               ____________________________________

               It remains for us to decide whether civil rights never taken

          away can be said to be "restored."  The Ramos panel, dealing with
                                                  _____

          a person convicted of a misdemeanor, and therefore a person whose

          civil rights were left  untouched by Massachusetts law, concluded

          that "restore" meant the giving back of what had been taken away.

          It   addressed  the   anomaly  that   those  convicted   of  mere

          misdemeanors could  never have firearms while  those convicted of

          the most  serious crimes could qualify, and  responded that "[b]y

          the affirmative  act of  pardon, expungement or  restoration, the

          state has declared its renewed trust  in that person."  961  F.2d

          at 1009.

               In  McGrath,  the  Second   Circuit  agreed,  rejecting  the
                   _______

          argument  that not having suffered the loss of one's civil rights

          is the "functional equivalent" of restoration, explaining, "[t]he

          'restoration'  of  a   thing  never  lost  or  diminished   is  a


                                         -12-














          definitional impossibility." 60  F.3d at 1007.   It discerned  an

          intent in the 1986 legislation to treat "a subsequent forgiveness

          . . . as an acknowledgement of rehabilitation   or an affirmative

          gesture  of goodwill  that  merited exemption  from the  firearms

          bar."   Id.   And, as far  as the probability  of "anomalies" was
                  __

          concerned,  the  court,  as   we  have  noted,  deemed  this   as

          inevitable.  It  concluded that only  Congress or the  particular

          state can properly address the problem.

               This   reasoning,  admittedly   technical,  is   not  easily

          dismissed.   The  use  of  the  word  "restore"  calls  for  some

          affirmative act  by the state.  It is not cavalierly ignored.  In

          the instant case,  however, we  are not confronted  with a  total

          absence  of affirmative action, as  in Ramos and  McGrath.  Here,
                                                 _____      _______

          affirmative action has taken  place with respect to the  right to

          sit on a jury (subject to some contingency) and the right to hold

          public  office.  Only the right to vote  was not taken away.  The

          words of   921(a)(20) literally apply:  Caron is  "a person [who]

          . . . has had  civil rights restored."   In this case, therefore,

          the dictates of both literalism and sense are met.  

               We leave  till another  day the  question whether,  when one
                                                                        ___

          civil right is restored but two  were never taken away, the  same

          answer would  prevail, together  with the basic  question whether

          the literal application  of "restore"  to a case  where no  civil

          rights were taken  away is so lacking in sense  as to command the

          same result.  We  acknowledge, however, that, contrary  to Ramos'
                                                                     _____

          holding, the  "restoration"  requirement does  not  automatically


                                         -13-














          exclude  the  possibility  that   rights  never  taken  away  can

          sometimes be viewed  as rights  restored.  In  addition, we  note

          that   921(a)(20)  would seem to be in need  of revisiting by the

          Congress so that the  problems that have busied the  courts might

          be resolved in harmony with legislative intent.

                                        * * *

               Our two  holdings do not dispose of this case.  There remain

          other  asserted issues, including whether  the right to  sit on a

          jury has been  sufficiently restored, and whether  there has been

          an express provision that appellant may not possess firearms.  We

          must leave to the district  court the determination whether these

          and other  issues  have  been  raised and  preserved,  and  their

          disposition on the merits.

               The judgment  is  vacated and  the  matter remanded  to  the
               ____________________________________________________________

          district court for resentencing.   As to all other  issues in the
          _________________________________________________________________

          case, the original panel opinion shall remain in full force.
          ____________________________________________________________






















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